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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL

MIGUEL CARRERA, JR. and                              §
JASMINE NOL, Individually                            §
and As Next Friend of                                §
A.C., a minor                                        §
              Plaintiff,                             §      CAUSE NO. 2:19-CV-36
                                                     §
       v.                                            §
                                                     §
TEXAS DEPARTMENT OF CRIMINAL                         §
JUSTICE, UNIVERSITY OF TEXAS                         §
MEDICAL BRANCH AT GALVESTON,                         §
ROBERT STEVENS, Individual Capacity,                 §
GUARD 1, Individual Capacity,                        §
GUARD 2, Individual Capacity                         §

                          PLAINTIFFS’ ORIGINAL COMPLAINT

            Miguel Carrera, Jr., Individually and as Next Friend of A.C., a minor and Jasmine Nol,

Individually and as Next Friend of A.T., a minor brings this their suit against Texas Department

of Criminal Justice (“TDCJ”), University of Texas Medical Branch at Galveston (“UTMB”),

Robert Stevens (“Warden Stevens”), in his individual capacity for official actions as the former

warden of Texas Department of Criminal Justice’s Skyview Unit, Guard 1 (“Guard 1”), in his

individual capacity, and Guard 2 (“Guard 2”), in his individual capacity.

                                         Nature of Case

       1.      Miguel Carrera, Jr., 22, has suffered schizophrenia since he was a teen. On or about

February 17, 2017, while incarcerated at Texas Department of Criminal Justice’s Skyview Unit,

Mr. Carrera was left unmonitored with a spoon in his cell while in a severe psychotic episode. Mr.

Carrera removed his right eye with a spoon and severally damaged his left eye in an attempt to

remove it as well. Mr. Carrera is permanently blind.

       2.      Mr. Carrera brings suits against the warden and two guards in their individual

capacity for their official conduct under color of law for subjecting him, a mentally disabled
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person, to cruel and unusual punishment as prohibited by the Eight Amendment and Fourteenth

Amendment to the United States Constitution. In addition, Mr. Carrera brings suit against TDCJ,

UTMB, Warden Stevens, Guard 1 and Guard 2 for the violation of Title II of the Americans with

Disabilities Act for subjecting him to cruel and unusual punishment as prohibited by the Eighth

and Fourteenth Amendments.

                                      Juridiction and Venue

       3.      This Court has jurisdiction over this suit pursuant to 28 U.S.C. §§ 1331. The Court

has personal jurisdiction over the individual defendants because they were residents of Texas at

the time of the events made the basis of the suit. The Court has personal jurisdiction over the state

defendants because sovereign immunity is abrogated in this suit. Venue of this suit is proper in

the United States District Court for the Eastern District of Texas pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claim occurred at Skyview

Unit in Rusk, Cherokee County, Texas.

                                              Parties

       4.      Plaintiff, Miguel Carrera, Jr., is a resident of Harris County, Texas. He is the spouse

of Jasmine Nol. He is the father of A.T.

       5.      Plaintiff, Jasmine Nol, is a resident of Harris County, Texas. She is the spouse of

Miguel Carrera, Jr. She is the mother of A.C.

       6.      Defendant, Texas Department of Criminal Justice, is a department of the State of

Texas. It may be served with summons through its executive director: Bryan Collier, 209 West

14th Street, 5th Floor, Price Daniel Building, Austin, Texas, 78701.

       7.      University of Texas Medical Branch is a political subdivision of the state. It may

be served with summons through the executive director: David L. Callender, M.D., M.B.A., FACS,

301 University Blvd., Suite 6.100 Administration Building, Galveston, Texas, 77555-0129.



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        8.    Defendant, Robert Stevens, is a resident of Brownwood, Brown County, Texas. He

was the warden of Skyview Unit during the events made the basis of the suit. He may be served

with summons at: 4201Austin Avenue, Brownwood, Texas 76801.

        9.    Defendant, Guard 1, was a resident of Texas at the time of the incident. There is

insufficient information for service of summons.

        10.   Defendant, Guard 2, was a resident of Texas at the time of the incident. There is

insufficient information for service of summons.

                           Exhaustion of Administrative Remedies

        11.   On June 30, 2017, Mr. Carrera submitted a written grievance to Warden Stevens.

                                             Notice

        12.   On June 30, 2017, Mr. Carrera notified the Texas Office of Attorney General and

Warden Stevens in writing of the facts of the claim and intent to bring a claim for compensation.

On January 31, 2019, Mr. Carrera provided written notice of his claim and a signed authorization

form for release of protected health information to UTMB.

                                             Facts

        13.   Miguel Carrera, Jr., 22, has suffered from schizophrenia since he was a teen.

Schizophrenia is a chronic and severe mental disorder that interferes with a person’s ability to

think clearly, manage emotions, make decisions, and relate to others. A person with schizophrenia

experiences hallucinations and paranoid delusions which are very real to the person experiencing

them.

        14.   In 2014, Mr. Carrera’s mental illness caused him to attack a security guard resulting

in probation. Mr. Carrera’s mental illness makes him prone to violence directed towards himself.

In one episode documented in his criminal and medical records, Mr. Carrera swallowed a taser




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that the police shot him with in order to gain control over him. Mr. Carrera’s violent psychotic

episodes are documented in his criminal and medical records.

        15.     While on probation in December 2016, Mr. Carrera experienced another psychotic

break. He began stabbing and slicing himself with a knife. His wife called the police. As a result

of his previous failure to meet requirements of his probation, the court revoked the probation and

sent him to state prison on January 5, 2017.

        16.     The Texas Department of Criminal Justice assigned Mr. Carrera to Skyview Unit

because he obviously experiencing paranoid delusions and attempting to harm himself by

slamming his head against the wall. While at Skyview Unit, Mr. Carrera continued to experience

psychotic episodes. The hallucinations and paranoid delusions caused him to scream that he

wanted to kill himself. He tried to harm himself by banging his head on the floor and wall. Mr.

Carrera never received any relief from the terrible thoughts he had in his head.

        17.     On or about February 17, 2017, after suffering uncontrollable fear from the

hallucination and desiring to end the horrible experience, Mr. Carrera removed his right eyeball

completely from the eye socket with a spoon. This included severing all of the muscles, blood

vessels, nerves, ligaments and connective tissue connecting the eyeball to the eye socket. The

eyeball fell to the floor. After, Mr. Carrera performed a self-enucleation of the right eye, he started

the same procedure on his left eye. Mr. Carrera was unable to completely remove his second

eyeball, but he caused sufficient damage in the process to cause permanent blindness in his left

eye. Specifically, he tore off the cataract and retina and ruptured the globe. When a guard finally

passed by Mr. Carrera’s cell, he witnessed Mr. Carrera crawling around on the floor searching for

his right eyeball.

        18.     Skyview Unit transported Mr. Carrera to a local hospital where he was initially

assessed by a medical team. A decision was made to transport him to UTMB-Galveston for care.



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The healthcare providers at UTMB-Galveston were unable to save his sight. At age 22, Mr.

Carrera is permanently blind.

       19.      The Correctional Managed Health Care Policy Manual – Suicide Prevention Plan

provides the following policies for offenders who may be at risk for suicide or self-harm:

       (1) Mental Health Observation: It applies to an offender who is determined to be at risk for

             self-injury but who is not actually suicidal or an imminent risk to do significant medical

             harm. The offender is placed in a specially prepared and approved cell. The inmate is

             observed every 30 minutes for psychiatric symptoms.

       (2) Crisis Management: It applies to an offender who is determined to be at imminent risk

             of significant self-injury or suicide. The offender is placed in a specially prepared and

             approved cell. The offender is observed for psychiatric symptoms at least every 15

             minutes.

       (3) Constant and Direct Observation: It applies to an offender who is determined to require

             Crisis Management for immediate care. The offender is constantly observed by an

             officer who is close enough and has the means to intervene to prevent self-injury.

       (4) All cells or rooms used for Mental Health Observation / Crisis Management must be

             visually inspected and approved by the Facility Warden, supervising qualified mental

             health professionals, medical director and director of nurses. The cell cannot contain

             any fixtures which the offender may use to harm themselves. Offenders who are at risk

             for self-injury should not be permitted to possess items with which they may injure

             themselves. These items include eating utensils.

       (5) A qualified mental health professional must be notified if the offender’s mental status

             significantly deteriorates.




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        20.     Warden Stevens and the guards failed to directly and constantly monitor Mr.

Carrera to prevent Mr. Carrera from removing and damaging his eyes. Further, Warden Stevens

and the guards failed to make certain that Mr. Carrera did not have access to a spoon which could

be used as a weapon of self-harm. These failures subjected Mr. Carrera to cruel and unusual

punishment.

        21.     TDCJ and UTMB failed to protect Mr. Carrera, a disabled person, from cruel and

unusual punishment. TDCJ and UTMB intentionally under-staffed Skyview Unit so that the

employees were overworked and overtaxed in high anxiety and pressured filled jobs. The under-

staffed and stressful job environment created an atmosphere of deliberate indifference to the rights,

safety and welfare of the mentally ill offenders like Mr. Carrera and of which the defendants had

actual and subjective awareness but nevertheless proceeded to ignore although there was a great

risk of harm.

                                    Violation of 42 U.S.C. 1983

        22.     The failure to constantly and directly monitor Mr. Carrera and permitting him

access to a spoon resulted in a violation of Mr. Carrera’s right to not be subjected to cruel and

usual punishment as guaranteed by the Eighth Amendment of the United States Constitution. Mr.

Carrera has a private right of action against the individual defendants for fair and just compensation

for the deprivation of his constitutional right. “Every person, who under color of any statute,

ordinance, regulation, custom or usage, of any State or Territory or the District of Columbia,

subjects or causes to be subjected, any citizen of the United States or other person within the

jurisdiction thereof to the deprivation of any rights, privileges, or immunities secured by the

Constitution and laws, shall be liable to the party injured in an action at law, suit in equity, or other

proper proceeding for redress…”. 42 U.S.C. § 1983. Mr. Carrera seeks recovery from Warden




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Stevens, Guard 1 and Guard 2 for depriving him of his constitutional right to not be subjected to

cruel and unusual punishment.

       23.     The right to not be subjected to cruel and unusual punishment was a clearly

established right at the time Mr. Carrera blinded himself while experiencing hallucinations and

paranoid delusions in the custody of the state. Warden Stevens, Guard 1 and Guard 2 deprived

Mr. Carrera of the right to not be subjected to cruel and unusual punishment when they failed to

directly and constantly monitor him and permitted him access to a spoon. There is no dispute that

Mr. Carrera had access to a banned object. Further, the facts establish that the individual

defendants were not monitoring Mr. Carrera because the removal of an eyeball, i.e., detaching it

from all of the muscles, nerves, blood vessels, ligaments and connective tissues, with a spoon is

an undertaking that requires time.

       24.     The individual defendants had actual knowledge that Mr. Carrera wanted to inflict

serious self-harm or suicide, yet they proceeded with deliberate indifference in ignoring his threats

of self-harm, refusing to stop him from hitting his head in an attempt to harm himself, failing to

monitor him, and allowing him access to an object with which he inflicted serious and permanent

injury on himself. The individual defendants had actual knowledge that Mr. Carrera was mentally

ill, experiencing hallucinations and paranoid delusions in a psychotic episode, and was unable to

prevent harm to himself yet deliberately ignored him. The individual defendants also had actual

knowledge that a spoon was an object that mentally ill offenders are not permitted to possess. Yet

the individual defendants permitted Mr. Carrera to have access to it. Suicide and self-harm

inflicted by a mentally ill offender is cruel and unusual punishment because it is the unnecessary

and wanton infliction of pain and permanent impairment.

                  Individual Defendants not Entitled to Qualified Immunity




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       25.     The individual defendants’ conduct of ignoring Mr. Carrera and permitting Mr.

Carrera access to a utensil during an ongoing psychotic episode taking into account Mr.

Carrera’s recorded history of self-harm was not objectionably reasonable in light of the clearly

established constitutional right to not be subjected to cruel and unusual punishment. The right to

not be subjected to cruel and unusual punishment was so clearly established at the time of the

incident that a reasonable official would understand that ignoring the threats of self-harm, acts of

self-harm, failure to monitor, and allowing the mentally-ill-prisoner-with-a-documented-history-

of-self-harm access to a tool of self-harm clearly violated Mr. Carrera’s constitutional right to be

not be subjected to cruel and unusual punishment. The facts demonstrate that the individual

defendants’ actions were either plainly incompetent or they knowingly violated Mr. Carrera’s

Eighth Amendment rights. In other words, all reasonable officials under the same circumstances

would have known that the above-described conduct violated Mr. Carrera’s right to not be

subjected to cruel and unusual conduct.

                        Violation of Title II of Americans with Disabilities Act

       26.     The Americans with Disabilities Act defines a disability as a physical or mental

impairment that substantially limits one or more major life activities, a record of such impairment,

or a determination of having an impairment. Title II of the ADA provides that “no qualified

individual with a disability shall, by reason of such disability, be excluded from participation in or

be denied the benefits of the services, programs, or activities of a public entity, or be subjected to

discrimination by such entity.” 42 U.S.C. § 12312. TDCJ and UTMB intentionally discriminated

against Mr. Carrera through its policy, custom and practice of under-staffing the prison. Offenders

with schizophrenia who are experiencing psychotic episodes and threatening self-harm require

constant monitoring and direct supervision so that immediate action may be taken to prevent self-

harm or suicide. TDCJ and UTMB did not provide a sufficient number of employees to properly



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monitor for the crisis occurrence or to provide constant monitoring during the crisis given the

number of offenders at Skyview Unit. TDCJ and UTMB are vicariously liable for the acts and

omissions of its employees and policymakers. Delano-Pyle v. Victoria County, Texas, 302 F.3d

567 (5th Cir. 2002).

       27.      The intentional under-staffing of Skyview Unit resulted in the guards deliberately

ignoring Mr. Carrera while he was in a state of psychosis screaming that he wanted to hurt himself

and deliberately permitting him access to a spoon. The intentional discrimination violated Mr.

Carrera’s Eighth Amendment right to not be subjected to cruel and unusual punishment which is

a right incorporated in Section 1 of the Fourteenth Amendment.

                       UTMB and TDCJ not Entitled to Sovereign Immunity

       28.      UTMB and TDCJ are subdivisions or departments of the state. However, they are

not entitled to sovereign immunity for violation of Title II of the American with Disabilities Act

because Mr. Carrera’s right to be from cruel and unusual punishment is protected not only under

the Eighth Amendment but also under Part 1 of the Fourteenth Amendment.           United States v.

Georgia, 546 U.S. 151 (2006).

       29.      Further, the acceptance of federal financial aid to pay student tuition amounts of

abrogation of sovereign immunity for a state entity. 42 U.S.C. § 42 U.S.C. § 2000d-7. Bennett-

Nelson v. La. Board of Regents, 431 F.3d 448 (5th Cir. 2005, cert. denied). UTMB receives federal

funds for the tuition payment of its medical students and federal grants for medical research.

                                             Damages

       30.      The defendants’ deprivation of Mr. Carrera’s constitutional right and the

defendants’ violation of the American with Disabilities Act directly, proximately and in fact

caused the following damages to which Mr. Carrera is entitled to under the law:

             a. Physical pain and mental anguish sustained in the past;



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              b. Physical pain and mental anguish that, in reasonable probability, Mr. Carrera will
                 suffer in the future;

              c. Physical impairment in the past;

              d. Physical impairment that, in reasonable probability, Mr. Carrera will suffer in the
                 future;

              e. Loss of earning capacity sustained in the past;

              f. Loss of earning capacity that, in reasonable probability, Mr. Carrera will suffer in
                 the future;

              g. Disfigurement sustained in the past;

              h. Disfigurement that, in reasonable probability, Mr. Carrera will suffer in the future;

              i. Medical care expenses incurred in the past; and

              j. Medical care that, in reasonable probability, Mr. Carrera will suffer in the future.

        31.      The defendants’ deprivation of Mr. Carrera’s constitutional right and the

 defendants’ violation of the American with Disabilities Act directly, proximately and in fact

 caused the following damages to which Ms. Nol is entitled to under the law:

              a. Loss of household services sustained in the past;

              b. Loss of household services that, in reasonable probability, Ms. Nol will suffer in
                 the future;

              c. Loss of consortium sustained in the past; and

              d. Loss of consortium that, in reasonable probability, Ms. Nol will suffer in the
                 future.

        32.      The physical injury to Mr. Carrera was a serious, permanent and disabling injury.

 The defendants’ deprivation of Mr. Carrera’s constitutional right and the defendants’ violation of

 the American with Disabilities Act directly, proximately and in fact caused the following damages

 to which A.C. is entitled to under the law:

              a. Loss of consortium services sustained in the past; and

              b. Loss of consortium that, in reasonable probability, A.C. will suffer in the future.


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                                               Punitive Damages


        33.           The individual defendants’ deprivation of Mr. Carrera of his constitutional right to

 not be subjected to cruel and unusual punishment was committed with reckless and callous

 disregard for his rights. The defendants’ deprivation of Mr. Carrera violation of the ADA was

 intentionally committed.         Therefore, the plaintiffs seek punitive damages.

                                                     Prayer

        34.           The plaintiffs pray that the defendants be summoned and answer to this Complaint,

 and that the plaintiffs have and recover from the defendants the following:

              i.         Actual damages;

              ii.        Statutory damages;

              iii.       Punitive damages;

              iv.        Reasonable cost of the necessary legal services pursuant to 42 U.S.C. § 1988(b)
                         and 42 U.S.C. § 12205;

              v.         Expert fees pursuant to 42 U.S.C. § 1988(c) and 28 U.S.C. § 1920;

              vi.        Costs pursuant to 28 U.S.C. § 1920;

              vii.       Interest pursuant to 28 U.S.C. § 1961; and

              viii.      All other relief to which the plaintiffs are entitled.

                                                              Respectfully submitted,

                                                              The Greenwood Prather Law Firm, PLLC


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